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           Exhibit I
     to June 3, 2020 Reply Letter
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From:            Kim, Jane (USANYS) 4
To:              Ted.Kim@treasury.gov
Cc:              Lake, Stephanie (USANYS); Krouse, Michael (USANYS); LynchG@dany.nyc.gov; Kaveh.Miremadi@treasury.gov;
                 Jacqueline.Brewer@treasury.gov; MariaHelene.VanWagenberg@treasury.gov
Subject:         RE: License Check
Date:            Tuesday, February 11, 2020 10:53:22 AM


Thanks very much, Ted.


From: Ted.Kim@treasury.gov <Ted.Kim@treasury.gov>
Sent: Tuesday, February 11, 2020 10:26 AM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>; LynchG@dany.nyc.gov; Kaveh.Miremadi@treasury.gov;
Jacqueline.Brewer@treasury.gov; MariaHelene.VanWagenberg@treasury.gov
Subject: RE: License Check

Jane,

Here is the certified license history check you requested. I will bring the hard copy with me when I
visit your office this Thursday (Feb 13). Thx.

Ted     

From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Wednesday, February 5, 2020 5:23 PM
To: Kim, Ted <Ted.Kim@treasury.gov>
Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS)
<Michael.Krouse@usdoj.gov>; LynchG@dany.nyc.gov
Subject: RE: License Check


This message is from an EXTERNAL SENDER - be CAUTIOUS of links and
attachments. THINK BEFORE YOU CLICK.
Could we have it by next Wednesday, 2/12? If that’s difficult, let us know. Thanks.

From: Ted.Kim@treasury.gov <Ted.Kim@treasury.gov>
Sent: Wednesday, February 5, 2020 5:21 PM
To: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>; LynchG@dany.nyc.gov
Subject: RE: License Check

Hi Jane,




                                                                                                                         USAO_00733
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Sure. Please let me know when you need the certified license history check. Having a set date will
help the file move promptly.        

Ted


From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent: Wednesday, February 5, 2020 5:10 PM
To: Kim, Ted <Ted.Kim@treasury.gov>
Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS)
<Michael.Krouse@usdoj.gov>; LynchG@dany.nyc.gov
Subject: RE: License Check


This message is from an EXTERNAL SENDER - be CAUTIOUS of links and
attachments. THINK BEFORE YOU CLICK.
Ted: I do think we’ll need a certified version of this letter. Is that possible?

Thanks again,
Jane


From: Kim, Jane (USANYS) 4
Sent: Tuesday, February 4, 2020 1:04 AM
To: Ted.Kim@treasury.gov
Cc: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>; LynchG@dany.nyc.gov; Kaveh.Miremadi@treasury.gov;
MariaHelene.VanWagenberg@treasury.gov; Jacqueline.Brewer@treasury.gov
Subject: Re: License Check

Thank you, Ted.

On Feb 3, 2020, at 4:13 PM, "Ted.Kim@treasury.gov" <Ted.Kim@treasury.gov> wrote:

       HI Jane,

       Here is the draft license history check. Thanks!

       Ted


       From: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
       Sent: Monday, February 3, 2020 11:41 AM
       To: Kim, Ted <Ted.Kim@treasury.gov>
       Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS)
       <Michael.Krouse@usdoj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>; Miremadi,
       Kaveh <Kaveh.Miremadi@treasury.gov>; Van Wagenberg, Maria-Helene




                                                                                                     USAO_00734
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<MariaHelene.VanWagenberg@treasury.gov>; Brewer, Jacqueline
<Jacqueline.Brewer@treasury.gov>
Subject: License Check


This message is from an EXTERNAL SENDER - be CAUTIOUS of
links and attachments. THINK BEFORE YOU CLICK.
Ted:

Below, please find the persons and entities for which we’d like you to run a license
check:

Ali Sadr Hashemi Nejad
Mohammed Sadr Hashemi Nejad
Iranian International Housing Company
Stratus International Contracting Company
Stratus Group
Clarity Trade and Finance
Stratus International Contracting, J.S.

Best,
Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637-2038
Email: jane.kim@usdoj.gov




<Certified License History Check_Draft.docx>




                                                                                       USAO_00735
